Case
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     No. 1:20-cv-00627-NYW-MDB       94-1125
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                                                                               Exh. 1 to Proposed Pretrial Order



                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                     JUDGE NINA Y. WANG




    Case No.      20-cv-00627-NYW-MDB                              Date:    March 13-17, 2023


    Case Title:     Acosta v. Pueblo Sch. Dist. No. 60 and Jonathan Dehn


                                  Plaintiff’s                          WITNESS LIST
                                   (Plaintiff/Defendant)


          WITNESS/DESCRIPTION OF                           ESTIMATED DATE(S) AND LENGTH OF
     TESTIMONY/WILL CALL OR MAY CALL                                 TESTIMONY

     Donna Raught. Ms. Raught is expected to             March 13, 2023
     testify about the labor dispute between Pueblo
     Sch. Dist. No. 60 and the Pueblo Education          2 hours (direct); 1 hour (cross); 30 minutes
     Association (“PEA”), as well as about non-          (re-direct)
     renewals in the school district and the
     grievance underlying Plaintiff’s claim for
     breach of contract. Will call to testify.

     Lisa Horton. Ms. Horton is expected to              March 13, 2023
     testify about Plaintiff’s performance
                                                         30 minutes (direct); 30 minutes (cross); 15
     evaluations and any matter raised during her
                                                         minutes (re-direct)
     deposition in this case. May call to testify.

     Eric DeCesaro. Mr. DeCesaro is expected to
     testify about the labor dispute between Pueblo      March 13, 2023
     Sch. Dist. No. 60 and PEA, as well as about
     staffing in the school district, his response, on   1 hour (direct); 30 minutes (cross); 15
     behalf of the school district, to the Plaintiff’s   minutes (re-direct)
     grievance, and any matter raised during his
     deposition in this case. May call to testify.
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     Jonathan Dehn. Mr. Dehn is expected to             March 13-14, 2023
     testify about the labor dispute between Pueblo
     Sch. Dist. No. 60 and PEA, as well as about        1 hour (direct); 30 minutes (cross); 15
     staffing at his school, teacher performance        minutes (redirect)
     evaluations, teacher non-renewals, and his
     decision to recommend the Plaintiff for non-
     renewal, and any matter raised during his
     deposition in this case. May call to testify.

     Monica Acosta. Ms. Acosta is expected to
                                                        March 14, 2023
     testify about her professional background, her
     experience teaching in Sch. Dist. No. 60, the      2 hours (direct); 1 hour (cross); 30 minutes
     labor dispute between the school district and      (re-direct)
     PEA, the non-renewal of her employment, the
     damages she experienced because of her non-
     renewal, her efforts to find employment
     following her discharge from District 60, and
     any matter raised during her deposition in this
     case. Will call to testify.

     Jane Lillydahl, Ph.D. Dr. Lillydahl is
     expected to testify as an expert witness about     March 14, 2023
     her professional credentials, her assessment of    1 hour (direct); 30 minutes (cross); 15
     the Plaintiff’s economic damages, and any          minutes (re-direct)
     matter contained in her expert report and
     accompanying documents in this case. Will
     call to testify.

     Julianne Rodriguez. Ms. Rodriguez is
                                                        March 14, 2023
     expected to testify about her relationship with
     the Plaintiff, as well as about her observations   45 minutes (direct); 30 minutes (cross); 15
     of the Plaintiff before and after her non-         minutes (re-direct)
     renewal from the school district, and any
     matter raised during her deposition in this
     case. Will call to testify.

     Any witness identified by the Defendants
                                                        TBD
     Any witness necessary for impeachment,
                                                        TBD
     rebuttal, or to lay a foundation
